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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


JEAN CARLOS SANCHEZ, on behalf of                         CIVIL ACTION NO 18-03153
himself and other persons similarly situated,

       Plaintiff,                                         JUDGE
v.                                                        GARY FEINERMAN

IDT TELECOM, INC. d/b/a BOSS
REVOLUTION                                                MAG. JUDGE
                                                          MARY M. ROWLAND
       Defendant.



                          AGREED STIPULATION OF DISMISSAL
                            AND CONSENT TO ARBITRATION

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Jean Carlos

Sanchez (“Plaintiff”) and Defendant IDT Telecom, Inc. d/b/a Boss Resolution (“Defendant”),

through their respective counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that in light of

Defendant’s pending Motion to Compel Arbitration (Dkt. No. 17), the parties have agreed to (i)

proceed with arbitration on an individual, not class-wide, basis, and (ii) dismiss the case on an

individual, not class-wide basis, without prejudice, and with Plaintiff reserving all claims arising

from the facts alleged in this lawsuit for arbitration.

Dated: August 16, 2018                                     Respectfully submitted,


 By: /s/ ____________________________                       /s/ ___________________________
 James A. Rolfes (SBN 6200271)                               Roberto Luis Costales
 jrolfes@reedsmith.com
 Christopher R. Murphy (SBN 6302607)                         William H. Beaumont
 crmurphy@reedsmith.com                                      BEAUMONT COSTALES LLC
 Karen E. Vaysman (SBN 6327730)                              3151 W. 26th Street, Second Floor
 kvaysman@reedsmith.com                                      Chicago, Illinois 60623
 REED SMITH LLP                                              Telephone: (773) 831-8000
 10 South Wacker Drive                                       Attorneys for Plaintiff
 Chicago, IL 60606-7507
 Telephone: 1.312.207.1000
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Facsimile: 1.312.207.6400
Counsel for Defendant
IDT Telecom, Inc. d/b/a Boss Revolution




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                               CERTIFICATE OF SERVICE
      I hereby certify that on August 17, 2018, I served a copy of the foregoing on counsel for

Defendant via the Court’s CM/ECF system.

                                           /s/ Roberto Luis Costales




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